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				IN RE AMENDMENT OF RULE SEVEN (H) OF RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW2017 OK 91Case Number: 6584Decided: 11/20/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 91, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In Re: Amendment of Rule Seven (h) of the Rules Governing Admission to the Practice of Law, 5 O.S. 2011, Ch. 1, app. 5



ORDER



This matter comes on before this Court upon an Application to Amend Rule Seven (h) of the Rules Governing Admission to the Practice of Law, 5 O.S. 2011, Ch. 1, app 5. This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto effective June 1, 2018.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 20th day of November, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.





EXHIBIT A

RULE SEVEN

The following non-refundable fees shall be paid to the Board of Bar Examiners at the time of filing of the application:

(a) Registration:

Regular . . . . . . . . . . . . $125

Nunc Pro Tunc . . . . . . . $500

(b) By each applicant for admission upon motion: the sum of $2,000.

(c) By each applicant for admission by examination under Rule Four, §1:

FEBRUARY BAR EXAM
Application filed on or before:



1 September . . . . .$1,000

1 October . . . . . . .$1,050

1 November . . . . .$1,150

&nbsp;



JULY BAR EXAM
Application filed on or before:



1 February . . . . . .$1,000

1 March . . . . . . . .$1,050

1 April . . . . . . . . .$1,150



(d) By each applicant for a Special Temporary Permit under Rule Two, §5: the sum of $750.

(e) By each applicant for admission by a Special Temporary Permit under Rule Two, §6: the sum of $100.

(f) For each applicant for a Special Temporary Permit under Rule Two, §7, there will not be any fee charged to the applicant.

(g) By each applicant for a Temporary Permit under Rule Nine: $150.

(h) By each applicant for admission by examination other than those under subparagraph (c) hereof:

FEBRUARY BAR EXAM
Application filed on or before:

1 September . . . . . $300 400


1 October . . . . . . . $350 450

1 November . . . . . $450 550


JULY BAR EXAM
Application filed on or before:

1 February . . . . . . $300 400


1 March . . . . . . . . $350 450



1 April . . . . . . . . . . $450 550


&nbsp;


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